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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                           Magistrate Judge Craig B. Shaffer

Civil Action No. 12-cv-02152-CBS

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, an Illinois
Corporation,
      Plaintiff,
v.

THE UNITED STATES OF AMERICA,
     Defendant.
_____________________________________________________________________

         ORDER ON STIPULATION OF DISMISSAL WITH PREJUDICE
_____________________________________________________________________

       This civil action comes before the court on the parties’ “Stipulation of Dismissal

with Prejudice.” On November 8, 2012, this case was referred to Magistrate Judge

Craig B. Shaffer to handle all dispositive matters including trial and entry of a final

judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73, and D.C. COLO.

LCivR 72.2. (See Doc. # 23). The court now being sufficiently advised in the premises,

       IT IS ORDERED that the parties’ “Stipulation of Dismissal with Prejudice” (filed

February 20, 2013) (Doc. # 25) is approved and this civil action is dismissed with

prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with each party to bear its own

attorney fees and costs.

       DATED at Denver, Colorado, this 21st day of February, 2013.

                                                  BY THE COURT:



                                                   s/Craig B. Shaffer
                                                  United States Magistrate Judge


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